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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




THE STATE OF OHIO, ex rel. DAVE YOST,                         Civil Action No. 4:23CV517
OHIO ATTORNEY GENERAL,
                                                                                4:23CV675
and
                                                              Hon. John R. Adams
THE UNITED STATES OF AMERICA,

                                Plaintiffs,

        v.

NORFOLK SOUTHERN RAILWAY COMPANY and
NORFOLK SOUTHERN CORPORATION,

Defendants/Third-Party Plaintiffs




                    DEFENDANTS’ RULE 26(a) INITIAL DISCLOSURES

        Pursuant to Federal Rule of Civil Procedure 26(a), Defendants Norfolk Southern

Corporation and Norfolk Southern Railway Company (collectively, “Norfolk Southern”) provide

the following initial disclosures to Plaintiffs.

               INITIAL DISCLOSURES AND RESERVATIONS OF RIGHTS

        These initial disclosures are based on information reasonably available to Norfolk

Southern as of the date they were prepared. Accordingly, Norfolk Southern expressly reserves

the right to clarify, alter, amend, modify, or supplement the information contained in these initial

disclosures as appropriate based on further evaluation of facts and evidence in its possession and

as it obtains additional information, in accordance with the Federal Rules of Civil Procedure and

the Local Rules.
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       By making these disclosures, Norfolk Southern does not represent it is identifying every

individual, document, or tangible thing possibly relevant to the Complaint and Amended

Complaint. Rather, these disclosures represent a good faith effort to identify information Norfolk

Southern reasonably believes may be relevant to its defenses to the Complaints, based on

information reasonably available to Norfolk Southern at this time.

       These initial disclosures do not constitute a waiver of any objections Norfolk Southern

may have, now or in the future, to any discovery in this action, and the submission of these

disclosures does not constitute an admission or concession that any discovery is necessary or

appropriate.

       Norfolk Southern expressly does not waive attorney-client privilege, work product

protection, or any other applicable privilege or protection through these disclosures. Norfolk

Southern expressly reserves its right to object on proper grounds to any discovery request

relating to the subject matter of these disclosures, including without limitation to object based on

attorney-client privilege; attorney work-product protection; any other applicable privilege or

protection under international, foreign, federal, or state law; relevance; competency; hearsay;

immateriality; overbreadth; and undue burden or harassment.

       Norfolk Southern expressly reserves the right to identify or call as witnesses other

individuals in addition to those identified herein, including without limitation those identified by

Plaintiffs in their initial disclosures or during discovery, and to identify additional documents, if

it discovers that such individuals have or might have knowledge of matters relevant to this action

or that such additional documents are relevant to this action.

       Norfolk Southern expressly reserves the right to identify or call expert witnesses in

accordance with Federal Rule of Civil Procedure 26(a)(2).




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Rule 26(a)(1)(A)(i) Disclosure

       The following individuals may have discoverable information that Norfolk Southern may

use to support its defenses, unless the use would be solely for impeachment. All employees of

Norfolk Southern identified below may be contacted only through undersigned counsel. The

following list should not be interpreted to be an admission that any of the identified individuals

will have discoverable information.

       A.       Norfolk Southern

            Name                          Contact                         Subject Matter
 Steven Aufdenkampe            Contact only through Norfolk      Environmental monitoring
                               Southern’s counsel of record
 Kraig Barner                  Contact only through Norfolk      Derailment investigation;
                               Southern’s counsel of record      emergency response to
                                                                 derailment
 Jacob Bilthuis                Contact only through Norfolk      Derailment investigation
                               Southern’s counsel of record
 Cris Burch                    Contact only through Norfolk      Management of hazardous
                               Southern’s counsel of record      materials
 Troy Carpenter                Contact only through Norfolk      Environmental monitoring
                               Southern’s counsel of record
 Geoffrey Craker               Contact only through Norfolk      Emergency response to
                               Southern’s counsel of record      derailment; operation and
                                                                 inspection of Train 32N
 Scott Deutsch                 Contact only through Norfolk      Management of hazardous
                               Southern’s counsel of record      materials; emergency response
                                                                 to derailment; decision to
                                                                 perform controlled release
 Robert Dickson                Contact only through Norfolk      Wayside detectors
                               Southern’s counsel of record
 Evan Drahnak                  Contact only through Norfolk      Emergency response to
                               Southern’s counsel of record      derailment
 Mark Dudle                    Contact only through Norfolk      Emergency response to
                               Southern’s counsel of record      derailment; decision to perform
                                                                 controlled release;
                                                                 environmental monitoring
 Chad Edwards                  Contact only through Norfolk      Management of hazardous
                               Southern’s counsel of record      materials; emergency response
                                                                 to derailment




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         Name                       Contact                      Subject Matter
Brent Emerson             Contact only through Norfolk   Track maintenance and
                          Southern’s counsel of record   restoration
Michael Fabery            Contact only through Norfolk   Advanced train control center;
                          Southern’s counsel of record   wayside detectors
Michael Anthony Faison*   Contact only through Norfolk   Operation of Train 32N
                          Southern’s counsel of record
David Gooden              Contact only through Norfolk   Train operations; emergency
                          Southern’s counsel of record   response to derailment
Scott Gould               Contact only through Norfolk   Management of hazardous
                          Southern’s counsel of record   materials; derailment site
                                                         investigation; decision to
                                                         perform controlled release
Jared Hopewell            Contact only through Norfolk   Wayside detectors; response to
                          Southern’s counsel of record   derailment

Floyd Hudson              Contact only through Norfolk   Derailment site investigation;
                          Southern’s counsel of record   decision to perform controlled
                                                         release
Chris Hunsicker           Contact only through Norfolk   Environmental monitoring
                          Southern’s counsel of record
Daniel Hunt               Contact only through Norfolk   Environmental monitoring
                          Southern’s counsel of record
Javon T. Jordan*          Contact only through Norfolk   Operation of Train 32N
                          Southern’s counsel of record
Sean Kennedy              Contact only through Norfolk   Mechanical inspections;
                          Southern’s counsel of record   derailment
Shannon Mason             Contact only through Norfolk   Train build and operations
                          Southern’s counsel of record
Crystal McNeely           Contact only through Norfolk   Environmental monitoring
                          Southern’s counsel of record
Adam Motsinger            Contact only through Norfolk   Environmental monitoring
                          Southern’s counsel of record
Jason Myers               Contact only through Norfolk   Advanced Train Control Center
                          Southern’s counsel of record
Bryan Naranjo             Contact only through Norfolk   Environmental monitoring
                          Southern’s counsel of record
David Patten              Contact only through Norfolk   Management of hazardous
                          Southern’s counsel of record   materials
Gary Rambo                Contact only through Norfolk   Advanced Train Control Center
                          Southern’s counsel of record
Jon Retting               Contact only through Norfolk   Management of hazardous
                          Southern’s counsel of record   materials
Bryan Salley              Contact only through Norfolk   Environmental monitoring
                          Southern’s counsel of record


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          Name                         Contact                      Subject Matter
 Josiah Saxe                Contact only through Norfolk    Train and track restoration;
                            Southern’s counsel of record    derailment site investigation
 Thomas Schnautz            Contact only through Norfolk    Wayside detectors; Advanced
                            Southern’s counsel of record    Train Control Center
 David Schoendorfer         Contact only through Norfolk    Response to derailment;
                            Southern’s counsel of record    management of hazardous
                                                            materials; environmental
                                                            monitoring
 Robert Scoble              Contact only through Norfolk    Environmental monitoring
                            Southern’s counsel of record
 Brian Shanks               Contact only through Norfolk    Management of hazardous
                            Southern’s counsel of record    materials
 Alan Shaw                  Contact only through Norfolk    Derailment response
                            Southern’s counsel of record
 Jon Simpson                Contact only through Norfolk    Management of hazardous
                            Southern’s counsel of record    materials; emergency response
                                                            to derailment
 Joseph Spadone             Contact only through Norfolk    Track maintenance and
                            Southern’s counsel of record    restoration
 Kevin Stauffer*            Contact only through Norfolk    Operation of Train 32N
                            Southern’s counsel of record
 Corey Veal                 Contact only through Norfolk    Derailment response; safety
                            Southern’s counsel of record    procedures
 James Wade                 Contact only through Norfolk    Derailment response
                            Southern’s counsel of record
 Jamie Williams             Contact only through Norfolk    Mechanical inspections;
                            Southern’s counsel of record    derailment response
 Nathan Williams            Contact only through Norfolk    Environmental monitoring
                            Southern’s counsel of record
 Paul Williams              Contact only through Norfolk    Management of hazardous
                            Southern’s counsel of record    materials; emergency response
                                                            to derailment
 Darrell Wilson             Contact only through Norfolk    Response to derailment;
                            Southern’s counsel of record    community engagement
 Kristin Wong               Contact only through Norfolk    Community engagement
                            Southern’s counsel of record
 Robert Wood                Contact only through Norfolk    Management of hazardous
                            Southern’s counsel of record    materials; emergency response
                                                            to derailment; decision to
                                                            perform controlled release

An asterisk (*) indicates an employee of Norfolk Southern Railway Company. No asterisk
indicates an employee of Norfolk Southern Corporation.



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      B.     Plaintiff-Related Parties

           Name                          Contact           Subject Matter
Amber Bellamy, United       Unknown                 Natural resource damages
States Fish & Wildlife                              assessment
Ralph Dollhopf, United      Unknown                 Derailment response;
States Environmental                                environmental sampling
Protection Agency
Mike Eberle, Ohio           Unknown                 Derailment response;
Environmental Protection                            environmental sampling
Agency
Rick Hackley, United     Unknown                    Derailment response;
States Environmental                                environmental sampling
Protection Agency Region
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Rich Henry, United States   Unknown                 Environmental sampling;
Environmental Protection                            natural resource damages
Agency                                              assessment
James Justice, United       Unknown                 Derailment response;
States Environmental                                environmental sampling
Protection Agency
Jack Kelly, United States   Unknown                 Derailment response;
Environmental Protection                            environmental sampling
Agency Region 3
Michelle Kerr, United    Unknown                    Derailment response;
States Environmental                                environmental sampling
Protection Agency Region
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Amy Klei, Ohio              Unknown                 Derailment response;
Environmental Protection                            environmental sampling
Agency
Kurt Kollar, Ohio           Unknown                 Derailment response;
Environmental Protection                            environmental sampling
Agency
Andy McGuire, United        Unknown                 Derailment response;
States Environmental                                environmental sampling
Protection Agency
Paul Ruesch, United      Unknown                    Derailment response;
States Environmental                                environmental sampling
Protection Agency Region



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           Name                        Contact              Subject Matter
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Anne Vogel, Ohio             Unknown                Derailment response;
Environmental Protection                            environmental sampling
Agency
Bill Zawiski, Ohio           Unknown                Natural resource damages
Environmental Protection                            assessment
Agency
Ohio Department of           Unknown                Derailment response;
Natural Resources                                   environmental sampling
Representative
Additional officials and     Unknown                Response to derailment;
individuals from federal,                           controlled release;
state, and local                                    environmental sampling; EPA
governmental agencies                               unilateral administrative order
and offices involved in
response to derailment
and subsequent events

      C.     Third Party Defendants

           Name                         Contact            Subject Matter
GATX Corporation              Unknown              Ownership and maintenance of
Corporate Representative                           derailed rail cars
General American Marks        Unknown              Ownership and maintenance of
Company Corporate                                  derailed rail cars
Representative
Oxy Vinyls LP Corporate       Unknown              Ownership and maintenance of
Representative                                     derailed rail cars
Trinity Industries Leasing    Unknown              Ownership and maintenance of
Company Corporate                                  derailed rail cars
Representative
Steve Smith, Oxy Vinyls LP    Unknown              Derailment response
Karenanne Stegmann, Oxy       Unknown              Derailment response
Vinyls LP
Paul Thomas, Oxy Vinyls       Unknown              Derailment response
LP




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      D.     Other Parties

           Name                        Contact                  Subject Matter
Arcadis U.S. Inc. Corporate   Contact through Norfolk   Environmental sampling
Representative                Southern’s counsel of
                              record
CTEH Corporate                Contact through Norfolk   Environmental sampling
Representative                Southern’s counsel of
                              record
EnviroScience, Inc.           Contact through Norfolk   Natural resources
Corporate Representative      Southern’s counsel of
                              record
Explosive Service             Contact through Norfolk   Controlled release
International Corporate       Southern’s counsel of
Representative                record
HEPACO Corporate              Contact through Norfolk   Emergency response to
Representative                Southern’s counsel of     derailment
                              record
Pennsylvania Department of    Unknown                   Derailment response;
Environmental Protection                                environmental sampling
Representative
Specialized Professional      Contact through Norfolk   Emergency response; controlled
Services, Inc. Corporate      Southern’s counsel of     release
Representative                record
Specialized Response          Contact through Norfolk   Controlled release
Solutions Corporate           Southern’s counsel of
Representative                record
Stantec Consulting Services   Contact through Norfolk   Environmental sampling
Inc., Corporate               Southern’s counsel of
Representative                record




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             Name                           Contact                       Subject Matter
 Peggy Clark, Columbiana          Unknown                        Response to derailment;
 County                                                          environmental sampling
 Trent Conaway, Village of        Unknown                        Response to derailment,
 East Palestine                                                  controlled release
 Keith Drabick, Village of        Unknown                        Response to derailment;
 East Palestine Fire                                             controlled release
 Department
 Additional third-party           Unknown                        Response to derailment;
 contractors and                                                 environmental sampling
 subcontractors involved in
 response to derailment and
 subsequent events
 Additional officials and         Unknown                        Response to derailment;
 individuals from federal,                                       controlled release;
 state, and local                                                environmental sampling; EPA
 governmental agencies and                                       unilateral administrative order
 offices involved in response
 to derailment and
 subsequent events

Rule 26(a)(1)(A)(ii) Disclosure

       Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(ii) and subject to the

qualifications stated above, and based on information reasonably available, Norfolk Southern

identifies the following categories of documents, electronically stored information, or tangible

things in its possession, custody, or control that it may use to support its defenses, unless such

use is solely for impeachment. Such categories of documents, electronically stored information,

and tangible things (or copies thereof) are located at the offices of Norfolk Southern or Norfolk

Southern’s counsel. Norfolk Southern makes these disclosures without waiving any arguments it

may have concerning the relevance or admissibility of, or the proper weight to be accorded to,

any of the information contained in the documents described. Norfolk Southern reserves the

right to assert a claim of privilege or immunity and to withhold from production any documents,

whether or not included below, that are protected from discovery by the attorney-client privilege,


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work-product immunity, or any other privilege or immunity. As discovery is ongoing, Norfolk

Southern reserves the right to amend these disclosures to the extent necessary to identify

additional categories of documents that may relate to information relevant to Norfolk Southern’s

defenses.

   •   Documents and electronically stored information concerning the ownership, operation,

       maintenance, inspection, and repair of derailed cars in the consist of Train 32N on

       February 3, 2023.

   •   Documents and electronically stored information concerning Norfolk Southern’s

       response to the derailment of Train 32N, including the emergency response, decision to

       perform controlled release, environmental testing, and Norfolk Southern’s

       communications with government agencies and the public.

   •   Documents and electronically stored information provided to and/or received from the

       Environmental Protection Agency pursuant to the February 27, 2023 Unilateral

       Administrative Order governing response actions.

   •   Documents and electronically stored information concerning Norfolk Southern’s safety

       procedures with respect to Train 32N.

   •   Documents and electronically stored information concerning the shipping and

       management of hazardous materials on Train 32N.

   •   Documents and electronically stored information concerning Norfolk Southern’s

       emergency response training and planning.

Rule 26(a)(1)(A)(iii) Disclosure

       Norfolk Southern seeks an order from the Court requiring the Third-Party Defendants to

pay their fair and equitable share of CERCLA response costs and other costs Norfolk Southern



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incurred as a result of Third-Party Defendants’ conduct through the date of judgment, including

pre-judgment interest. The total CERCLA response costs and other costs, and Third-Defendants’

fair and equitable share of those costs, are not yet known.

Rule 26(a)(1)(A)(iv) Disclosure

       Subject to the above reservation of rights, please note that Norfolk Southern has

purchased certain insurance covering legal liabilities for bodily injury and property damage to

third parties. This insurance provides coverage above $75 million and below $800 million

($1.1 billion for specific perils) per occurrence and/or policy year. Norfolk Southern is willing

to produce documents sufficient to identify such insurance agreements, subject to the terms of

the protective order entered by the court.




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Dated: July 12, 2023


WILMER CUTLER PICKERING                        MCMAHON DEGULIS LLP
 HALE AND DORR LLP

/s/ Davina Pujari
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                     Counsel for Defendants and Third-Party Plaintiffs
           Norfolk Southern Corporation and Norfolk Southern Railway Company




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2023, I caused a copy of the foregoing to be filed with

the Clerk of the Court using the Court’s CM/ECF electronic filing system, which will provide

electronic notice to all counsel of record.



                                                     /s/ Davina Pujari
                                                     Davina Pujari (admitted pro hac vice)
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                                                     Party Plaintiffs




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